Case 2:15-cv-14207-SMM Document 152 Entered on FLSD Docket 12/18/2018 Page 1 of 3



                  UN ITED STA TES D ISTR ICT C OU RT FO R TH E
                       SO U TH ERN D ISTR ICT O F FLO R ID A
                                FortPierce D ivision

                            CA SE N O .:15-14207-M A Y N A RD

   C U RTIS G REEN ,JR .,

               Plaintiff,

   V S.


   D ETECTIVE PETER CROFT,eta1.

               D efendants.

                                        /


                                JU R Y V ER D IC T FO R M

   D o you find from a preponderance of the evidence:


   1(a). ThatDetectiveCroftintentionally committed actsthatviolated M r.Green's
         rightto not be subjected to excessive or unreasonable force while being
          arrested by a 1aw enforcem entofûcer?

               Answer:Yeso/ko
                           N p ùohw




   1(b). That Deputy M anganiello intentionally committed acts thatviolated M r.
         Green's rightto notbe subjected to excessive orunreasonable force while
          being arrested by a law enforcem entofticer?

                Answer Yeso No
                       '
                       .
                                        Mo

   Ifyouranswerisd%No,''to BOTH 1(a)and 1(b),yourverdictisfortheDefendants
   and this ends your deliberations.Your foreperson should sign and date the last
   page ofthis verdictform and retum itto the courtroom .
jv
 Case 2:15-cv-14207-SMM Document 152 Entered on FLSD Docket 12/18/2018 Page 2 of 3




     Ifyouransweris$$Yes,''to BOTH 1(a)and 1(b),please answerquestions2(a)and
     2(b).

     lfyouransweris$$Yes''to 1(a)ONLY,pleaseanswerquestion 2(a).

     IfyouranswerisdçYes''to 1(b)ONLY,pleaseanswerquestion2(b).

     D o you find from a preponderance of the evidence:


     2(a). ThatDetectiveCroft'sconductcausedM r.Green'sinjuries?
                 A nsw er:Y es orN o

     2(b). ThatDeputyM anganiello'sconductcausedM r.Green'sinjuries?
                 A nsw er'
                         .Y esorN o

     lfyouransweris$$No,''to BOTH 2(a)and 2(b),thisendsyourdeliberations,and
     your verdict is for the D efendants. Y our foreperson should sign and date the
     verdictform and return itto thecourtroom .

     IfyouranswerisçtYes,''to EITHER 2(a)or2(b)orto BOTH 2(a)and 2(b),your
     verdictis forthePlaintiffand you should answerquestion 3.

     D o you find from a preponderance ofthe evidence:

     3.    ThatM r.Green should be aw arded com pensatory dam ages to com pensate
           M r.Green forhisphysicaland emotionalinjuries?
                 A nsw er: Y es orN o

                 IfyouranswerisY es,in w hatam ount?         $

     Ifyouransw erto question 3 is1çN o,''please answ er question 4.
Case 2:15-cv-14207-SMM Document 152 Entered on FLSD Docket 12/18/2018 Page 3 of 3



   Ifyour answ er to question 3 is ($Y es,''please skip question 4 and sign and date the
   verdictform .


         ThatM r.G reen should be aw arded nom inaldam ages?

               A nsw er'
                       . Y es orN o

               lfyouransw erisYes,in whatam ount?            $


   SO SA Y W E A LL .


                                            FOREPERSON'SSIGNATURE

   DATE:       kc-ï,aï,e
